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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In Re:

Christopher Eric Johnson
Rachal Jean Johnson
                                                                 ORDER

                            Debtors

Chapter 13, Case No. 12-42907
______________________________________________________________________

        This case is before the court on the motion of U.S. Bank National

Association (Movant) for relief from the automatic stay. Pursuant to the

agreement of the parties, the debtor is delinquent for the months of

November 28, 2015 and December 28, 2015 at $1,812.00 each month less a

suspense of $.20 for a total of $3,623.80.        Further, pursuant to the

agreement of the parties,

        IT IS ORDERED:

        The motion is denied.

        1.   The debtors agree to pay to U.S. Bank National Association,

its successors or assigns, the sum of $1,812.00 by certified check or

money order made payable to U.S. Bank National Association on or before

January 21, 2016.    The Debtors agree to send the payment to the office of

Usset, Weingarden & Liebo P.L.L.P. at 4500 Park Glen Road, Suite 300, St.

Louis Park, MN    55416.

        2.   The remaining balance of $1,811.80 shall be paid by certified

check or money order, by the debtors, directly to U.S. Bank National

Association as follows: five payments of $301.96 beginning February 15,

2016 to June 15, 2016 and one payment of $302.00 on or before July 15,

2016.



        a.   The sum of $301.96 on or before February 15, 2016;
        b.   The sum of $301.96 on or before March 15, 2016;
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     c.     The   sum   of   $301.96   on   or   before      April 15, 2016;
     d.     The   sum   of   $301.96   on   or   before      May 15, 2016;
     e.     The   sum   of   $301.96   on   or   before      June 15, 2016;
     f.     The   sum   of   $302.00   on   or   before      July 15, 2016.


     3.     The debtors shall pay their regular monthly post-petition

mortgage payment to U.S. Bank National Association, its successors or

assigns on the first day of the month, commencing January 28, 2016, and

continuing each month thereafter.

     4.     In the event that the debtors fail to make any of the above

payments as and when due, the attorney for the movant, its successors or

assigns may serve a notice upon the debtor, by first class mail, alleging

the debtors failure to pay said payment.                   Unless the debtors cure the

default within 7 days after service of said notice, the movant may file an

Affidavit of Default with the court and shall be entitled to ex parte

relief from the automatic stay.

     5.   If a default letter becomes necessary, the debtors may be

charged $50.00 to be paid together with the default payment and late

charge.   The debtors shall tender the total amount due in the form of a

cashier's check or money order made payable to creditor and a separate

check payable to the movant's law firm for the $50.00 attorney fee.

     Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3),

this order is effective immediately.


           January 21, 2016
Dated: _______________________.


                                            /e/ Michael E. Ridgway
                                   United States Bankruptcy Judge

                                       NOTICE OF ELECTRONIC ENTRY AND
                                       FILING ORDER OR JUDGMENT
                                       Filed and Docket Entry made on01/21/2016
                                       Lori Vosejpka, Clerk, by MJS




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